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5
     Attorney for Defendant
6    LEVI DOMINGUEZ
7
8                                IN THE UNITED STATES DISTRICT COURT
9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )           NO. 1:05-cr-00232 AWI
                                           )
12                     Plaintiff,          )           STIPULATION TO CONTINUE STATUS
                                           )           CONFERENCE AND SET MOTION BRIEFING
13         v.                              )           SCHEDULE AND ORDER
                                           )
14   ANDY MENDOZA, LEVI DOMINGUEZ,         )           Date: December 12, 2005
     AND ADALBERTO ONTIVEROS, JR.,         )           Time: 9:00 a.m.
15                                         )           Judge: Hon. Anthony W. Ishii
                       DefendantS.         )
16                                         )
     _____________________________________ )
17
18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19   counsel, KATHLEEN A. SERVATIUS, Assistant United States Attorney, counsel for Plaintiff, and
20   NICHOLAS F. REYES, counsel for Defendant ANDY MENDOZA, ERIC V. KERSTEN, Assistant
21   Federal Defender, counsel for Defendant LEVI DOMINGUEZ, and DAVID A. TORRES, counsel for
22   Defendant ADALBERTO ONTIVEROS JR. that the date for status conference in this matter may be
23   continued to December 12, 2005. It is also requested that a new motion briefing schedule be ordered. It
24   is requested that any additional motions may be filed by November 7, 2005; that any response or
25   opposition may be filed by November 28, 2005; that any reply may be filed by December 5, 2005; and that
26   the status conference and hearing on the motions may be set for December 12, 2005. The date currently
27   set for status conference is October 3, 2005. The requested new date is December 12, 2005.
28          This request is made to allow additional time to review discovery, conduct investigation, and file
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1    motions prior to the status conference. All defendants are on pretrial release and not in custody.
2            The parties agree that the delay resulting from the continuance shall be excluded as necessary for
3    effective defense preparation pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), and for the filing of pretrial
4    motions and ruling thereon pursuant to 18 U.S.C. §§ 3161(h)(1)(F).
5                                                        McGREGOR W. SCOTT
                                                         United States Attorney
6
7            DATED: September 29, 2005                  By /s/ Kathleen A. Servatius
                                                         KATHLEEN A. SERVATIUS
8                                                        Assistant United States Attorney
                                                         Attorney for Plaintiff
9
10                                                       QUIN DENVIR
                                                         Federal Public Defender
11
12           DATED: September 29, 2005                 By /s/ Eric V. Kersten
                                                  ERIC V. KERSTEN
13                                                      Assistant Federal Defender
                                                        Attorney for Defendant
14                                                      LEVI DOMINGUEZ
15           DATED: September 29, 2005                By /s/ Nicholas F. Reyes
                                                  NICHOLAS F. REYES,
16                                                     Attorney for Defendant
                                                       ANDY MENDOZA
17
18           DATED: September 29, 2005                By /s/ David A. Torres
                                                  DAVID A. TORRES,
19                                                     Attorney for Defendant
                                                       ADALBERTO ONTIVEROS JR.
20
21
22                                                  ORDER
23           IT IS SO ORDERED. The intervening period of delay is excluded in the interests of justice
24   pursuant to 18 U.S.C. §§ 3161(h)(1)(F) and 3161(h)(8)(B)(iv).
25
     IT IS SO ORDERED.
26
     Dated:      September 30, 2005                    /s/ Anthony W. Ishii
27   0m8i78                                      UNITED STATES DISTRICT JUDGE
28

     Stipulation to Continue Status Conference
     and Set M otion Briefing Schedule                   2
